Case 3:15-cr-00029-N Document93 Filed 02/02/24 Page. Of 26.' PabelDOERT a
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FILED
IN THE UNITED STATES DISTRICT
FOR THE NORTHERN DISTRICT OF
DALLAS DIVISION

CLERK, U.S’ DISTRICT COURT
| 2y
UNITED STATES OF AMERICA ) BS ro J

Vs. CASE NO. 3:15-CR-00029-N
ROGER HARRY OLSON IT

DEFENDANT'S MOTION FOR REDUCTION IN SENTENCE AND APPOINTMENT OF COUNSEL
Comes Now, Roger Harry Olson II (Petitioner), proceeding Pro Se, to request a
Reduction In Sentence pursuant to 18 USC § 3582(c)(1)(A), which, as amended by the

First Step Act of 2018, allows a district court to reduce a defendant's sentence

upon motion of the defendant after considering the factors set forth in 18 USC §
3553(a) and any policy statement issued by the United States Sentencing Commission.
Herein, Petitioner presents that he should be granted a reduction based upon
Extraordinary and Compelling Reasons of 1) an Unusually Long Sentence (USSG §
1B1.13(b)(6)) and 2) Extensive Rehabilitation (USSG § 1B1.13(d)), which when
considered in combination with each other, this Court should find warrants
Compassionate Release.
Support Follows:
LEGAL STANDARD
18 USC § 3582(c)(1)(A) now allows for defendant filed motions requesting a

reduction in sentence. The statute sets forth three criteria for a district court

to consider in order for a defendant to succeed in his endeavor - 1) for
Extraordinary and Compelling Reasons to exist; 2) that any reduction be consistent
with the Sentencing Factors as described in 18 USC § 3553(a); and 3) for the
requested reduction to be out-lined by the "applicable" policy statement issued by
the Sentencing Commission - see Id.

In addition to the criteria outlined above, the statute contains a mandatory
claims processing rule that the defendant submit a request to the Warden of his
prison, and "upon the lapse of 30 days" may then submit his claim to his District
Court - Id. In satisfaction of this, Petitioner presents his request submitted to
Warden Jenkins of USP Atlanta on the very issue he now presents herein (see Exhibit
1). If the Court would note, more than 30 days have lapsed since Petitioner
submitted his request to Warden Jenkins. As such, this Court should find that it is

free to move on the merits of Petitioner's request.

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I. EXTRAORDINARY AND COMPELLING REASONS
A) Unusually Long Sentence

Petitioner was sentenced under 2 violations of 21 USC § 841 and enhanced via §
851 to a total aggregate of 180 months incarceration. As part of the passage of the
First Step Act, Congress included Section 401, which redefined what can qualify as
a predicate offense for a § 851 enhancement. Section 851 now states, due to the
changes made, that a "serious drug offense'' requires that the relevant sentence
have been longer than 12 months of incarceration and that the offense have been
committed less than 15 years before the instant sentencing - See FSA of 2018 § 401;
see also 21 USC § 802(57)(A) & (B).

This Court enhanced Petitioner with a § 851 due to his State of California
conviction in Case No. SCD193566 entered 8 December, 2005 (see Exhibit 2). This was
a violation of California Health and Safety Code 11378 (Count 2) for which he was
sentenced to two years (see Exhibit 3). The State of California requires a
defendant to serve fifty percent of a sentence imposed less pre-trial custody
credits; Petitioner was awarded 132 total days pre-trial custody credits on 4
April, 2006 (see Exhibit 4). Add to this the fact that since his conviction on the
instant offense, Count 3 of SCD193566 has been reduced to a misdemeanor by
California Proposition 47 (see Exhibit 5); the total time served is well below the
12 months and 1 day new required to qualify as a predicate "serious drug offense."
This Court should now find that Petitioner is currently serving a sentence wherein
"a change in the law ... where such change would produce a gross disparity between
the sentence being served and the sentence likely to be imposed [now]" - USSG §
1B1.13(b)(6). Petitioner asserts that were he sentenced today, he would face only a
90 month sentence, rather than the 180 months sentence currently imposed.

B) Rehabilitation Of The Defendant

In his efforts to better himself and prepare for a successful reentry into
society, Petitioner has taken a number of self improvement classes, including
fitness and nutrition, informing himself on the impacts of climate change, how to
manage his personal finances through the Money Smart program, Spanish language
studies and the "Wise Credit'' courses. He has also taken many courses that are
specifically designed to provide job skills which will assist in obtaining
employment: the ServSafe Manager Certification program through the National
Restaurant Association (a "real world" recognized certification), the corresponding
Culinary Arts I & II Professional Cooking curriculum and Restaurant Management

Certificate. All which prepares him for a _ productive career in the

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Restaurant/Hospitality Industry.

In addition to these courses, Petitioner has completed both the standard Drug
Education and the Non-Residential Drug Abuse Program offered by the Bureau Of
Prisons. Petitioner is currently enrolled in the Residential Drug Abuse Program; a
nine month program, set in an intensive theraputic community, focused on the
individual as a whole person with overalll lifestyle change needs, not simply
abstinence from drug use. He is also staying clean from drug abuse through the MAT
(Medically Assisted Treatment) program at the Institution, which provides for
scientifically tested anti-relapse treatment (as ordered by the First Step Act of
2018 - see § 607(a)). For over fourteen months, the Petitioner has been prescribed
and injected with a non-narcotic medication named Vivitrol/Naltrexone; an opioid
blocker used to treat opioid use disorder. This therapy will continue during his
time remaining in the BOP and into community supervision in combination with his
RDAP aftercare.

Throughout the years incarcerated in the Bureau Of Prisons, the Petitioner has
continually held employment in various departments: Food Service Administrator
Clerk, Education Clerk, VI Culinary Arts Clerk as well as hourly positions in the
leisure library and recreation (see Exhibit 6).

As such, this Court should find that the Petitioner has completed ar
extraordinary amount of rehabilitative activity in his time incarcerated and find,
accordingly, that this Reason, in combination with his other Reason, constitutes a
showing of "Extraordinary and Compelling Reason[s]"' to GRANT a Reduction In
Sentence as spelled out in both 18 USC § 3582(c)(1)(A) and as defined by the
Sentencing Commission's mandated exclusive authority (by 28 USC § 944(a)(2)) to
define what constitutes such - see USSG § 1B1.13(b)(6) & (d).

II. 3553(a) FACTORS

This Court must also consider the Factors set forth in 18 USC § 3553(a) ''to

the extent that they are applicable’ - 18 USC § 3582(c)(1)(A).

Those Factors are:

1) "the nature and circumstances of the offense"'
and
"the history and characteristics of the Defendant"
This Factor advocates strongly in favor of a reduction due to the fact that
here, the base offense would have only subjected the Petitioner to a 90 month
sentence, but his now inapplicable § 851 enhancement literally doubled his range

and sentence to the imposed 180 months. As such, the "nature and circumstances of

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Case 3:15-cr-00029-N Document93_ Filed 02/02/24 Page4of26 PagelD 957

the offense'' advocates for a sentence 90 months below the one imposed.

As for the second portion, "history and characteristics of the Defendant," the
triggering predicate for the § 851 enhancement no longer qualifies. The
Petitioner's criminal history contains no other convictions that would qualify,
either then or currently, for a § 851 Enhancement. This Court should find that his
history no longer supports a 180 month sentence; the change in threshold
determination for "serious drug felony" as previously discussed and included by
reference here.

The Petitioner has a non-violent criminal history, thus is not a danger to the
safety of any other person or to the community. The Petitioner has strong ties in
his anticipated release community as he will live with his octagenarian parents.
Another characteristic in the Petitioner's favor is his 'Low Recidivism Rate" as
indicated by his PATTERN score (see Exhibit 6). Also, the previously discussed
rehabilitation efforts of the Petitioner should inform this Court's analysis of
this Factor, bringing the Court to a conclusion that this Factor weighs strongly in
his favor.

2) "the need for the sentence imposed to provide just punishment and deterrence"
This Factor also weighs heavily in Petitioner's favor, as the new Guidelines
Sentence that he is exposed to is actually lower than the sentence that he has
served to date. This means that continued incarceration actually serves to imbue
disrespect for the law in the eyes of others who may be contemplating the same
offense and the general public as well. His new guidelines advocate for a 90 montk
sentence, and thusly has he now "overserved" what he should have after the relevant
changes in both fact and law. Accordingly, even the Government should support a
reduction here and this Court should find that this Factor supports’ such a
reduction.
3) "the kinds of sentences available"

This Factor also supports a reduction, as Petitioner can easily ccntinue his
treatment and rehabilitation while on supervised release. Supervised release is
even specifically contemplated in the text of § 3582(c) as appropriate in any
reduction scenario. As such, Supervised Release is "available'' as a less-
restrictive alternative to continued incarceration - and this Court should find
that this Factor advocates a reduction accordingly.

4) The Sentencing Guidelines Range
This Factor, cited generally here, supports a reduction probably more strongly

than any other, as Petitioner's new Guideline Range is 90 months, less than he has

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currently served and exactly half of what he was sentenced to. As such, this Court
should find that a reduction is appropriate in the instant case.
5) "any pertinent policy statement"

and
6) "the need to avoid unwarranted sentencing disparities among Defendants"

These two Factors also provide strong support for a reduction here as the
Sentencing commission has squarly spelled out Petitioner's exact situation in USSG
§ 1B1.13(b)(6) & (d) - an "Unusually Long Sentence'' that has produced a gross
disparity between the sentence being served and the sentence likely to be imposed
at the time the motion is being filed'' USSG § 1B1.13(b)(6); and the current
sentence has produced a serious disparity among similarly situated Defendants due
to the fact that anyone rew sentenced with the same record as Petitioner's will
necessarily face only half the time of incarceration that he received due to the
very changes he cites now for Extraordinary and Compelling Reason[s]. The
petitioner has now served over nine years incarcerated on the instant offense.
Although this does not meet the letter of the pertinent policy statement, the Fifth
Circuit Court of Appeals noted that while the Sentencing Commission's policy
statement is a "key factor" in determining whether to grant a reduction, it is not
a mandatory requirement and district courts have discretion in considering all
relevant factors. As such, this Court should find that Petitioner has met his
burden concerning the relevant Sentencing Factors; Petitioner declines to cover the
final Factor as his crime did not have any restitution payment ordered at
sentencing.

IIL. POLICY STATEMENTS

The relevant Sentencing Commission Policy Statement is found at USSG §

1B1.13(b)(6) and USSG § 1B1.13(d). Petitioner presents now that he has already

covered this Policy Statement extensively herein and therefor should not need to

reiterate his argument now, as doing so would be repetitive and a waste of judicial
resources - he merely reincorporates them here by reference. As previously stated,
therefor, this Court should find that the applicable policy ststement fully
supports a Reduction In Sentence in the instant case.

IV. APPOINIMENT OF COUNSEL

Petitioner respectfully requests appointment of counsel for the instant

proceedings. He fully recognizes that appointment is not a right for post-
conviction motions, but he asserts now that he has provided a Prima Facie case that

he deserves the relief requested herein and that therefore appointment is warranted

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in the interest of justice (18 USC § 3006 et seq.) in order to bring adequate
resources to bear in the adjudication of the instant Motion.
CONCLUSION

For the foregoing Reasons, this Court should GRANT a Reduction In Sentence to
Time Served, with. a corresponding Order for appropriate Supervised Release with
conditions to be determined by the Court, or any releif this Court deems fit to
provide. I, Roger Harry Olson II, hereby swear under penalty of perjury that the
foregoing is both true and accurate, to the best of my knowledge.
Respectfully Submitted,

Lye 4 Ler Z

Roger Harry Olson II #49151-177

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CERTIFICATE OF SERVICE

I, Roger Harry Olson II, hereby swear under penalty of perjury that the
foregoing was placed in the hands of the FCI Safford Legal Mail Representative on
DW 2Y/ 202 and ask the Clerk Of Court to provide notice to the Government and
its local U.S. Attorneys' Office via the Courts' CM/ECF system of same.

Respectfully Submitted,

hie Mor 2

Roger Harry Olson II #49151-177

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Exhibit 1
Case 3:15-cr-00029-N Document93 _ Filed 02/02/24

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BP-AQ148 INMATE REQUEST TO STAFF cprrm

JUNE 10

U.S. DEPARTMENT OF JUSTICE FEDERAL BUREAU OF PRISONS

TO: (Name and Title of Staff Member)
Warden Jenkins

DATE:
1 June, 2023

FROM: REGISTER NO.:
Roger Olson II #£9151-177
WORK ASSIGNMENT: UNIT:
Fiucation B3 #614L

SUBJECT: (Briefly state your question or concern and the solution you are requesting.

Continue on back, if necessary. Your failure to be Specific may result in no action being
taken. If necessary, you will be interviewed in order to Successfully respond to your
requéesc.

Werden Jenkins, I am requesting Compassionate Release based on changes made
by the First Step Act of 2018; Congress included S401, which redefined what can
qualify as a predicate offense for a §851 Enhancement. Section 401 now states that
a "'serious drug offense" requires the relevant sentence have been longer than 12
months incarceration. The U.S. District Court enhanced my case with a §851
Enhancement due to a California ccnviction in case #SCD193566; the relevant
sentence served was well below the 12 months and 1 day now required to qualify as
& predicate "serious drug offense.” If sentenced today without the §851
Enhancement, I would be exposed to a Significantly lower penalty and have now been
incarcerated longer than necessary. Please review United States Sentencing
Guideline §1B1.13(b)(6); First Step Act §401; United States Vs. Roger Olson II,
Northern District Of Texas, Dallas Division Case #3:15-CR-00029-N.

Thank you for your attention to this matter and timely response.

Sincere

(Do not write below this line)

DISPOSITION:

Signature Staff Member Date

Record Copy - File; Copy - Inmate

PDF Prescribed by P5511

This form replaces BP-148.070 dated Oct 86
and BP-S$148.070 APR 94

SECTION 6

POLE IN SECTION 6 UNLESS APPROPRIATE FOR Praranbatky POLDER
Case 3:15-cr-00029-N Document93 Filed 02/02/24 Page10o0f26 PagelD 963

Exhibit 2
Page 11o0f26 PagelD 964

Filed 02/02/24

Document 93

15-cr-00029-N

Case 3

Case 3:15-cr-00029-N Document 41 Filed 08/31/15 ° Page lof2 PagelD 372

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

UNITED STATES OF AMERICA NO, 3:15-CR-0029-N

v.
ROGER HARRY OLSON, II

PENALTY ENHANCEMENT INFORMATION
AND NOTICE OF INTENTION TO SEEK ENHANCED PENALTY

The United States Attomey charges:

1; Before committing the offense alleged in Count One of the indictment returned on

January 21, 2015, Roger Harry Olson, Il, was convicted of the following predicate drug offense:

Possession for Sale of a Controlled Substance, to wit:
(GHB) and Possession of a Controlled Substance,
number C0193566, in the Superior Court of Califo
concluded on or about September 6, 2005

Gamma Hydroxybutyric
to wit; Methamphetamine, in cause
mia, County of San Diego, offense
, judgment entered December 8, 2005.

2. The conviction alleged in paragraph one became final before Olson committed the

offense alleged in Count One of the indictment,

3, Pursuant to 21 U.S.C, §851(a)(1), the government hereby informs that it will use

this prior felony drug conviction to seek enhanced penalties provided for in 2] U.S.C,

§841(b)(1)(B) upon Olson’s conviction for the drug offense alleged in Count One of the

indictment, that is, Possession with Intent to Distribute a Controlled Substance, to wit: 50 grams

or more of a mixture or substance containing a detectable amount of methamphetamine, its salts,

isomers, and salts of its isomers,

Notice of Intent to Scek Enhanced Penalty - Page 1

Case 3:15-cr-00029-N Document 41 Filed 08/31/15 Page2of2 PagelD 373

4 The United States Attomey serves notice that, upon conviction of the defendant
: ; ;
Count One of the indictment, the United States will seek to invoke the enhanced penalty

provisions and subject Olson to the following penalties:

a, ‘ atermof imprisonment of not less than 10 years and not more than life;

b a fine not to exceed $8,000,000 or twice the pecuniary gain to the
, defendant or loss to the victim; and

v
c a term of supervised release of not less than 8 years shall follow any term
of imprisonment.

Respectfully submitted,

JOHN R. PARKER
UNITED STATES ATTORNEY

‘ (s/ Lara L, Burns
L, BURNS
Special Assistant United States Attorney
Louisiana State Bar Roll No, 24987
1100 Commerce Street, Third Floor
Dallas, Texas 75242-1699
Telephone: 214.659.8600
Facsimile: 214.659.8812
Email: Lara,Burns@usdoj.gov

CERTIFICATE

Thereby certify that on August 31, 2015, I provided a copy of this document to

defendant's counsel, Joseph Mongaras. pPiaoaE.Fimes
LARA L, BURNS
. Special Assistant United States Attorney

Notice of Intent to Seck Enhanccd Penalty - Page 2

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Exhibit 3
~ Case 3:15-cr-00029-N Document 93

Filed 02/02/24

ABSTRACT OF JUDGMENT - PRISON COMMITMENT - DETERMINATE

Page 13 0f 26 PagelD 966

[NOT VALID WITHOUT COMPLETED PAGE TWO OF CR-290 ATTACHED] CR-290
SUPERIOR COURT OF CALIFORNIA, COUNTY OF: SAN DIEGO
PEOPLE OF THE STATE OF CALIFORNIA vs. pos: 09-17-72 $CD193566 -A ‘ L @
DEFENDANT: OLSON, ROGER Clerk of the Superior Court
aka. OLSON, ROGER HARRY
= FEB - 5 2007
CilNO.: g 5
BOOKING No: 0414046A — ol ogy. Deputy
COMMIT
seater or Soweto Bees Resor
DATE OF HEARING DEPT. NO. JUDGE
12-08-05 30 CHARLES G. ROGERS
CLERK REPORTER PROBATION NO. OR PROBATION OFFICER & IMMEDIATE SENTENCING
R. SCHACH T. ERVIN
COUNSEL FOR PEOPLE COUNSEL FOR DEFENDANT J APPTO.
C. PHILLIPS D. GREENE
1. Defendant was convicted of the commission of the following felonies:
(C Additional counts are listed on attachment E
___ (number of pages attached) cen Z| es é 2| Eyal x Saeco
z2 83 Z BS 3 TIME IMPOSED
vean crime | CATE OF = Z é i
count | cove] —_SECTIONNO. CRIME COMMITTED | gCONMCTION &| al 3 s S| §2| 62/2 ves | Mos
2 HS | 11378 POSS FOR SALE OF CONT SUB 2005 12-08-05 M 2 0
3 HS | 11377 POSS OF CONTROLLED SUB 2005 12-08-05 X X (0 {| 8)
2. ENHANCEMENTS charged and found to be true TIED TO SPECIFIC COUNTS (mainly in the PC 12022 series). List each count
enhancement horizontally. Enter time imposed for each or “S” for stayed. OO NOT LIST ANY STRICKEN ENHANCEMENT(S).
COUNT ENHANCEMENT econ ENHANCEMENT ae ENHANCEMENT cates TOTAL
3. ENHANCEMENTS charged and found to be true FOR PRIOR CONVICTIONS OR PRISON TERMS (mainly in the PC 667 series).
List all enhancements horizontally. Enter time imposed for each or “S” for stayed. DO NOT LIST ANY STRICKEN ENHANCEMENT(S).
ENHANCEMENT ees ENHANCEMENT ee ees ENHANCEMENT ee TOTAL

4. (1 Deft. sentenced per: C] PC 667(b)-(i) or PC 1170.12 (two strikes) O PC 1170

(a3). Pre-confinement credits equal or exceed time imposed.

(Paper Commitment.) Deft. ordered to report to local Parole Office upon release.
5. INCOMPLETED SENTENCE(S) CONSECUTIVE 6{ TOTAL TIME ON ATTACHED PAGES: | [|
COUNTY CASE NUMBER
7. 0 Additional indeterminate term (see CR-292).
8,| TOTAL TIME EXCLUDING COUNTY JAIL TERM:| 2 | 8 |
This form is prescribed under PC 1213.5 to satisfy the requirements of PC 1213 for determinate sentences. Attachments may be used but must be referred to in this —. 4<is
age 10
Adopted for Mandatory Use Pena Code,
tees aaa cate ABSTRACT OF JUDGMENT - PRISON COMMITMENT - DETERMINATE ggs203 12138

CR -290 (Rev. January 1, 2007)

Case 3:15-cr-00029-N Document93 _ Filed 02/02/24 Page14of26 PagelD 967

® @

PEOPLE OF THE STATE OF CALIFORNIA vs
oeFeNDANT: OLSON, ROGER

$CD193566 “A 3B -¢ D

9. FINANCIAL OBLIGATIONS (plus any applicable penalty assessments):

a. Restitution Fine(s):
Case A: $200 per PC 1202.4(b) forthwith per PC 2085.5; $200 per PC 1202.45 suspended unless parole is revoked.
per PC 1202.44 is now due, probation having been revoked.

per PC 1202.4(b) forthwith per PC 2085.5; $
per PC 1202.44 is now due, probation having been revoked.

$ per PC 1202.45 suspended unless parole is revoked.
$
Case C: $ per PC 1202.4(b) forthwith per PC 2085.5; $
$
$
$

Case B:

per PC 1202.45 suspended unless parole is revoked.

per PC 1202.44 is now due, probation having been revoked.

per PC 1202.4(b) forthwith per PC 2085.5; $ per PC 1202.45 suspended unless parole is revoked.
per PC 1202.44 is now due, probation having been revoked.

Case D:

Case A: §$ OU Amount to be determined to victim(s)* [J] Restitution Fund
Case B: § (J Amount to be determined to] victim(s)* [) Restitution Fund
Case C: $ C Amount ta be determined to (] victim(s)* [] Restitution Fund
Case D: $ ( Amount tobe determined to) victim(s)* (] Restitution Fund
C1 * Victim name(s), if known, and amount breakdown in item 11, below. (1 * Victim names(s) in probation officer's report.
c. Fine(s):
Case A: $ per PC 1202.5. $ per VC 23550 or days (J county jail (] prison in lieu of fine concurrent (] consecutive
CJ includes: [0 $50 Lab Fee per HS 11372.5(a) os Drug Program Fee per HS 11372.7(a) _ for each qualifying offense. :
Case B: $ per PC 1202.5. $ per VC 23550 or days () county jail (prison in lieu of fine OO concurrent 0 consecutive |
Ciincludes: [J $50 Lab Fee per HS 11372.5(a) Os Drug Program Fee per HS 11372.7(a) _—_ for each qualifying offense. :
CaseC: §___ per PC 1202.5. $ per VC 23550 or days C] county jail (1) prison in lieu of fine J concurrent (1 consecutive
Ci includes: (J $50 Lab Fee per HS 11372.5(a) C$. Drug Program Fee per HS 11372.7(a) for each qualifying offense.
Case D: $ per PC 1202.5. $ per VC 23550 or days (1 county jail () prison in lieu of fine (J concurrent (J consecutive
Cy includes: 1 $50 Lab Fee per HS 11372.5(a) O$ Drug Program Fee per HS 11372.7(a) for each qualifying offense.

d. Court Security Fee: $___ per PC 1465.8.
10. TESTING a.) Compliance with PC 296 verified b. (J ONA per PC 296 Cc. CO) AIDS per PC 1202.1 d. Ciother (specify):
11. Other orders (specify): ‘ |

$20 COURT SECURITY FEE;
42. IMMEDIATE SENTENCE: 14. CREDIT FOR TIME SERVED |
Ba Probation to prepare and submit
Post-sentence report to CDCR per PC 1203c. CASE TOTAL CREDITS ACTUAL LOCAL CONDUCT
bd 4019
Defendant's race/national origin: A TBD TBD TBD OC) 2033.1
C) 4019
a OO 2933.1
13. EXECUTION OF SENTENCE IMPOSED: FT 4010
. . . ¢ 1 2933.1
a. & atinitial sentencing hearing. C] 4010
b. (0 at resentencing per decisign on appeal. | D Ol 2933.1 :
c. (after revocation of probation. Date Sentence Pronounced: | Time Served in State Institution:
d. (J atresentencing per recall of commitment. (PC1 470(d).) DMH CDCR CRC
e. (1 other (specify): 12-8-05 (4) {_ {J

15. The defendant is remanded to the custody of the sheriff (X] forthwith (1 after 48 hours excluding Saturdays, Sundays, and holidays.
To be delivered to (CO the reception center designated by the director of the California Department of Corrections and Rehabilitation.

(C1 other (specify):

CLERK OF THE COURT

| hereby certify the forggoing to Dea correct abstract of the judgment made in this action.

DEPUTY'S SIGNATURE DATE

R. SCHACH 2-05-07
CR-290 (Rev. January a OF JUDGMENT —- PRISON COMMITMENT — DETERMINATE Page 2 of 2

Case 3:15-cr-00029-N Document93 _ Filed 02/02/24 Page15of26 PagelD 968

Exhibit 4
Case 3:15-cr-00029-N Document93 Filed 02/02/24 Page16of26 PagelD 969

Merion COURT OF CALIEG BRIA
COUNTY OF SAN DIEGO

DATE: April 4, 2006 DEPT: 30 REPORTER A: not reported CSR#
PRESENT: HONORABLE TIMOTHY R. WALSH REPORTER B: CSR#
JUDGE

CLERK:B. Lindahl
REPORTERS' ADDRESS: PO BOX 120128

BAILIFF: SAN DIEGO CA 92112-0128

SCD193566 02 THE PEOPLE OF THE STATE OF CALIFORNIA

Case Number Plaintiff,
VS.

ABP093 02 ROGER HARRY OLSON \

DA Number Defendant.

CDC Number

EX PARTE MINUTE ORDER

The Court has received the probation officer's report dated 03-15-06 and filed 04-04-06. The
report contains a calculation of the defendant's custody credits as follows:
88 Actual Days
44 PC 4019/2933.1 Credits
132 Total Days Custody Credits
The Court finds that the defendant is entitled to receive the credits stated above and amends the sentence imposed
on 12-08-05 nunc pro tunc to that date. The Abstract of Judgment of that sentence which was prepared

on 12-19-05 is also corrected by virtue of this minute order to reflect the above credits.

Date: April 04, 2006
HONORABLE TIMOTHY R. WALSH Judge of the Superior Court

CLERK'S CERTIFICATE
The foregoing is a full, true and correct copy of the original on
file in this office.

Certified copy to:
Department of Corrections

MICHAEL M. RODDY
CLERK OF THE SUPERIOR COURT

By , Deputy

SUPCT CR-119(New 1-89) EX PARTE MINUTE ORDER - CUSTODY CREDITS

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Exhibit 5
Case 3:15-cr-00029-N Document93 _ Filed 02/02/24 Page18o0f26 PagelID 971

SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO prevt l
F CENTRAL DIVISION, CENTRAL COURTHOUSE, 1100 UNION ST., SAN DIEGO, CA 92101 ued enteenerten
EAST COUNTY DIVISION, 250 E. MAIN ST., EL CAJON, CA 92020
NORTH COUNTY DIVISION, 325 S. MELROSE DR., VISTA, CA 92081
SOUTH COUNTY DIVISION, 500 3RD AVE., CHULA VISTA, CA 91910 FEB 1 8 2022
PLAINTIFF .

PEOPLE OF THE STATE OF CALIFORNIA By: G. Arce-Barraza, Deputy
DEFENDANT SUPERIOR COURT CASE NUMBER
Roger Olson SCD193566

MINUTES, RESPONSE, AND ORDER ON DSP IADent Wek nares nema
PETITION FOR RESENTENCING ABP093

TO BE FILLED OUT BY THE COURT ONLY:
Defendant has filed a petition for resentencing/reduction and alleges pursuant to Pen. Code § 1170.18
Defendant XX) has completed his/her sentence and petitions to have the felony count(s) designated as a misdemeanor(s).

C1 is still serving a sentence on the felony count(s) and petitions for resentencing.

TO BE FILLED OUT BY THE PROSECUTING AGENCY ONLY:
The District Attorney responds:

The District Attorney agrees that the following counts are eligible for resentencing/reduction: CT_ 3 HS11377'7(a) ONLY
Defendant is not entitled to the relief requested.
Reason: No counts eligible under Pen. Code § 1170.18
Defendant has at least one prior conviction for an offense under Pen. Code § 667(e)(2)(C)(iv) or for an offense
requiring registration pursuant to Pen. Code § 290(c).
LIA hearing should be held to determine L] whether defendant poses an unreasonable risk of danger to public safety CJ other:

&] Defendant has completed his/her sentence and is entitled to have the felony conviction(s) designated as a misdemeanor(s).
(_] Defendant is still serving his/her sentence and is entitled to resentencing.
Digitally signed by Harrison C. Kennedy

Date: Feb 1, 2022 Harrison C. Kennedy Date: 2022.02.01 10:17:47 -08'00'
Deputy District Attorney

COURT ORDER

=
ThePetition is denied. CT > 277 (a)
he Petition is granted and the counts identified above are ordered designated as a misdemeanor conviction(s). ASH :

C) Formal probation is now ordered converted to Probation to the Court, Same Terms and Conditions.
(J The matter is ordered set for hearing or resentencing on , at 1:30 p.m. in Department of the:
(_] Central Courthouse, 1100 Union St., San Diego, CA 92101
North County Regional Center, 325 South Melrose Dr., Vista, CA 92081
East County Regional Center, 250 East Main St., El Cajon, CA 92020
{_] South County Regional Center, 500 3rd Ave., Chula Vista, CA 91910

Resentencing does not permit a person to own, possess, or have in his or her custody or control any firearm (Pen. Code

§1170.18(k)).
oni: 2-1 E202 fiir. illlt—

Judge of the Superior Court

MAUREEN F. HALLAHAN

CLERK'S CERTIFICATE

The foregoing document, consisting of ___ page(s), is a full, true, and correct copy of the [_] original

copy on file in this office.
L) copy Clerk of the Superior Court

Date: by __, Deputy

MINUTES, RESPONSE AND ORDER ON Pen Code § 1170.18
PETITION FOR RESENTENCING

SDSC CRM-278 - (New 11/14)
Case 3:15-cr-00029-N Document93 Filed 02/02/24 Page19o0f26 PagelID 972

Exhibit 6

Case 3:15-cr-00029-N Document93 _ Filed 02/02/24 Page20o0f26 PagelD 973

Individualized Needs Plan - Initial Classification (Inmate Copy) SEQUENCE: 01961113
Dept. of Justice / Federal Bureau of Prisons Team Date: 11-27-2023 |
Plan is for inmate: OLSON II, ROGER HARRY 49151-177
Facility: SAF SAFFORD FCI Proj. Rel. Date: 03-02-2027
Name: OLSON II, ROGER HARRY Proj. Rel. Mthd: FIRST STEP ACT RELEASE
Register No.: 49151-177 DNA Status: SEA07156 / 07-20-2015
Age: 51
Date of Birth: 09-17-1972
Detainers
[Detaining Agency Remarks |
NO DETAINER
Pending Charges

| See PSI page 13. |

Current Work Assignments

[Facl Assignment Description Start |
NO ASSIGNMENTS

Current Education Information

[Fact Assignment Description Start |
SAF ESL HAS ENGLISH PROFICIENT 09-29-2016

SAF GED HAS COMPLETED GED OR HS DIPLOMA 09-29-2016

Education Courses

[SubFacl Action Description Start Stop |
ATL c S-SERVSAVE MANAGER CERT 01-11-2022 06-22-2022

ATL c MONEY SMART FSA 09-27-2022 11-28-2022

ATL c CLIMATE CHANGE 11-02-2021 12-01-2021

YAM c INFECTIOUS DISEASE 12-23-2019 12-23-2019

OAK Cc SHU KNOW YOUR CONSUMER 10-23-2019 10-30-2019

OAK c SHU JOB HUNTING BY TELEPHONE 10-10-2019 10-23-2019

OAK c SHU BE CREDIT WISE CREDIT 10-03-2019 10-10-2019

OAK c NUTRITION (RPP#1) 09-18-2018 09-18-2018

OAK Cc FITNESS TRAINER PREP (RPP#1) 08-07-2018 09-17-2018

ATL c ACE BASIC LAW 04-24-2017 06-15-2017

ATL c SPANISH(BEGINNING) 04-24-2017 06-14-2017

ATL c FOOD SERVICE SERVE SAFE CLASS 08-08-2016 09-07-2016

ATL c RPP1 AIDS & DISEASE PREVENTION 06-29-2016 06-29-2016

Discipline History (Last 6 months)

[Hearing Date Prohibited Acts ]

** NO INCIDENT REPORTS FOUND IN LAST 6 MONTHS **

Current Care Assignments

[Assignment Description Start |
CARE1 HEALTHY OR SIMPLE CHRONIC CARE 06-08-2016
CARE1-MH CARE1-MENTAL HEALTH . 05-31-2016
Current Medical Duty Status Assignments |

[Assignment Description Start
C19-T NEG COVID-19 TEST-RESULTS NEGATIVE 08-19-2021
LOWER BUNK LOWER BUNK REQUIRED 01-27-2023
NO PAPER NO PAPER MEDICAL RECORD 05-30-2018
REG DUTY NO MEDICAL RESTR-REGULAR DUTY 01-26-2017
YES F/S CLEARED FOR FOOD SERVICE 01-26-2017
Current Drug Assignments

[Assignment Description Start

DAP PART RESIDENT DRUG TRMT PARTICIPANT. 11-20-2023
ED COMP DRUG EDUCATION COMPLETE 11-14-2017

Sentry Data as of 11-22-2023

Individualized Needs Plan - Initial Classification

(Inmate Copy)

Page 1 of 3

Case 3:15-cr-00029-N Document93 _ Filed 02/02/24 Page21of26 PagelD 974

Individualized Needs Plan - Initial Classification (Inmate Copy) SEQUENCE: 01961113
Dept. of Justice / Federal Bureau of Prisons Team Date: 11-27-2023
Plan is for inmate: OLSON II, ROGER HARRY 49151-177
[Assignment Description Start
MAT PART MED ASSIST TRMT PARTICIPANT 01-09-2023
NR COMP NRES DRUG TMT/COMPLETE 01-07-2022
FRP Payment Plan
[Most Recent Payment Plan
FRP Assignment: COMPLT  FINANC RESP-COMPLETED Start: 07-21-2018
Inmate Decision: AGREED $25.00 Frequency: SINGLE
Payments past 6 months: $0.00 Obligation Balance: $0.00
Financial Obligations
[No. Type Amount Balance Payable Status
1 ASSMT $200.00 $0.00 IMMEDIATE COMPLETEDZ

“* NO ADJUSTMENTS MADE IN LAST 6 MONTHS **

FRP Deposits

Trust Fund Deposits - Past 6 months: $2,050.00 Payments commensurate? Y
New Payment Plan: ** No data **

Current FSA Assignments

[Assignment Description Start

AWARD EBRR INCENTIVE AWARD 08-01-2023
FTC ELIG FTC-ELIGIBLE - REVIEWED 08-01-2023
N-ANGER Y NEED - ANGER/HOSTILITY YES 11-22-2023
N-ANTISO Y NEED - ANTISOCIAL PEERS YES 11-22-2023
N-COGNTV N NEED - COGNITIONS NO 11-22-2023
N-DYSLEX N NEED - DYSLEXIA NO 05-31-2021
N-EDUC N NEED - EDUCATION NO 11-22-2023
N-FIN PV N NEED -FINANCE/POVERTY NO 11-22-2023
N-FM/PAR N NEED - FAMILY/PARENTING NO 11-22-2023
N-M HLTH N NEED - MENTAL HEALTH NO 11-22-2023
N-MEDICL N NEED - MEDICAL NO 11-22-2023
N-RLF N _ NEED - REC/LEISURE/FITNESS NO 11-22-2023
N-SUB AB Y NEED - SUBSTANCE ABUSE YES 11-22-2023
N-TRAUMA N NEED - TRAUMA NO 11-22-2023
N-WORK N NEED - WORK NO 11-22-2023
R-LW LOW RISK RECIDIVISM LEVEL 11-22-2023

Progress since last review

Inmate Olson recently arrived at FCI Safford on October 31, 2023. At this review there is no progress to note, due to this being his initial review.
Updates will be made regarding his progress at his next scheduled review.

Next Program Review Goals

Complete the Anger Management class. Invest in your health by starting an exercise and/or diet program; seek guidance in this area from the
recreation department or the clinic, enroll and complete the Health and Wellness class. Complete both recommendations prior your next review.

Long Term Goals

Complete the Seeking Safety class prior to 3-2027. Enroll in the Release Orientation Program by 12-2024 and complete by 3-2027. Save 10% of your
monetary intake in the pre-release savings account throughout your incarceration, for preparation for your release in 3-2027. Have your birth certificate
and driver's license/photo ID mailed into your Counselor prior to 03-2027. Save 10% of your monetary intake in the pre-release savings account
throughout your incarceration, for preparation for your release in 03-2027.

RRC/HC Placement

Comments

None.

Sentry Data as of 11-22-2023 Individualized Needs Plan - Initial Classification (Inmate Copy) Page 2 of 3
Case 3:15-cr-00029-N Document93 _ Filed 02/02/24 Page 22o0f26 PagelID 975
SAFDE * INMATE EDUCATION DATA * 01-22-2024
PAGE 001 OF 001 * TRANSCRIPT * 15:18:03
REGISTER NO: 49151-177 NAME..: OLSON II FUNC: PRT
FORMAT..... : TRANSCRIPT RSP OF: SAF-SAFFORD FCI

FACL ASSIGNMENT DESCRIPTION
SAF ESL HAS ENGLISH PROFICIENT
SAF GED HAS COMPLETED GED OR HS DIPLOMA

EDUCATION INFORMATION

EDUCATION COURSES

START DATE/TIME STOP DATE/TIME
09-29-2016 1150 CURRENT
09-29-2016 1150 CURRENT

SUB-FACL DESCRIPTION START DATE STOP DATE EVNT AC LV HRS
SAF RDAP JOB TRAINING/SKILLS DVLPMENT 01-18-2024 CURRENT

SAF RDAP LEISURE MOVIE PROGRAM 11-10-2023 CURRENT

ATL S-SERVSAVE MANAGER CERT 01-11-2022 06-22-2022 P € P 225
ATL MONEY SMART FSA 09-27-2022 11-28-2022 P ¢€ P 28
ATL CLIMATE CHANGE 11-02-2021 12-01-2021 P €¢ P 10
YAM INFECTIOUS DISEASE 12-23-2019 12-23-2019 P € P 1
OAK SHU KNOW YOUR CONSUMER RIGHTS 10-23-2019 10-30-2019 BPo€ P 4
OAK SHU JOB HUNTING BY TELEPHONE 10-10-2019 10-23-2019 P ¢ P 4
OAK SHU BE CREDIT WISE CREDIT 10-03-2019 10-10-2019 BP € P 4
OAK NUTRITION (RPP#1) 09-18-2018 09-18-2018 BP € P 3
OAK FITNESS TRAINER PREP (RPP#1) 08-07-2018 09-17-2018 P € P 10
ATL ACE BASIC LAW 04-24-2017 06-15-2017 P € P 16
ATL SPANISH (BEGINNING) 04-24-2017 06-14-2017 BP ¢ PB 16
ATL FOOD SERVICE SERVE SAFE CLASS 08-08-2016 09-07-2016 P' ¢ P 6
ATL RPP1l AIDS & DISEASE PREVENTION 06-29-2016 06-29-2016 P ¢ P 1

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TRANSACTION SUCCESSFULLY COMPLETED

Case 3:15-cr-00029-N Document93 _ Filed 02/02/24 Page230f26 PagelID 976
SAFDE 531.01 * INMATE HISTORY * 01-22-2024

PAGE 001 OF 001 * PT OTHER * 15:19:57
REG NO..: 49151-177 NAME....: OLSON II, ROGER HARRY

CATEGORY: PTO FUNCTION: PRT FORMAT:

FCL ASSIGNMENT DESCRIPTION START DATE/TIME STOP DATE/TIME
SAF ANG M WAIT ANGER MANAGEMENT CBT WAIT 06-02-2023 1458 CURRENT

SAF CR TH WAIT CRIMINAL THINKING WAIT 04-06-2023 1348 CURRENT

ATL CR TH WAIT CRIMINAL THINKING WAIT 06-02-2023 1458 07-25-2023 1348
ATL CR. ‘TH. FE CRIMINAL THINKING FAIL-EXPEL 01-10-2023 1052 01-10-2023 1052
ATL CR TH PART CRIMINAL THINKING PART 11-29-2022 0800 01-10-2023 1052
ATL CR TH WAIT CRIMINAL THINKING WAIT 11-10-2021 0900 11-29-2022 0800
ATL MON SM O C MONEY SMART OLDER POP COMP 11-28-2022 1405 11-28-2022 1405
ATL MON SM O P MONEY SMART OLDER POP PART 09-27-2022 0930 11-28-2022 1405
ATL MON SM O W MONEY SMART OLDER POP WAIT 06-07-2022 0831 09-27-2022 0930
ATL TALK DOC C TALKING WITH YOUR DOCTOR COMP 03-23-2020 1750 03-28-2022 1146
ATL TALK DOC P TALKING WITH YOUR DOCTOR PART 02-24-2022 1200 03-28-2022 1146
ATL TALK DOC W TALKING WITH YOUR DOCTOR WAIT 02-22-2022 1200 02-24-2022 1200
ATL BRN HLTH C BRAIN HEALTH AS YOU AGE COMP 08-28-2021 0852 01-28-2022 0852
ATL BRN HLTH P BRAIN HEALTH AS YOU AGE PART 06-28-2021 0851 08-28-2021 0852

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TRANSACTION SUCCESSFULLY COMPLETED

Case 3:15-cr-00029-N
FSA Recidivism Risk Assessment (PATTERN 01.03.00)
Register Number:49151-177, Last Name:OLSON II

U.S. DEPARTMENT OF JUSTICE

Register Number:

Inmate Name

eee

49151-177

Document 93

Filed 02/02/24

Risk Level Inmate....:
General Level......:
Violent Level......:

Security Level Inmate:

Security Level Facl..:

Responsible Facility.:

Start Incarceration..:

Page 240f26 PagelD 977

FEDERAL BUREAU OF PRISONS

(31)
(15)

SAF
04/18/2016

PATTERN Worksheet Details

Item:

General Score:

-9,

Risk Item Data

Programs Completed, Value: 9

Violent Score: -3

Category - Assignment - Start Stop
DRG ED COMP 11/14/2017 08:31
EDC SERV SAFE 08/08/2016 13:15 08/08/2016 13:15
EDC SPANISH I 04/24/2017 19:30 04/24/2017 19:30
EDC BASC LAW 04/24/2017 19:32 04/24/2017 19:32
EDC SHU CREDIT 10/03/2019 13:39 10/03/2019 13:39
EDC SHU PHONE 10/10/2019 17:48 10/10/2019 17:48
EDC SHU CONS 10/23/2019 17:07 10/23/2019 17:07
EDC ACE-CLIMAT 11/02/2021 09:34 11/02/2021 09:34
EDC MON SMART 09/27/2022 09:31 09/27/2022 09:31
Item: Work Programs, Value: 1
General Score: -1, Violent Score: -1
Risk Item Data
Category - Assignment - Start Stop
EDC SERVSAFEMG 01/11/2022 08:22 O1/11/2022 08:22
Assessment Date: 11/22/2023 (1) Assessment# R-2146507547

Case 3:15-cr-00029-N Document93 Filed 02/02/24 Page25of26 PagelD 978
RECEIVED

Roger Harry Olson II #49151-177

Federal Correctional Institution Safford FEB -9 2024

P.O. Box 9000

Safford, Arizona 85548 are

24 Jaruary, 2024

Clerk Of Court

United States District Court
Northern District Of Texas
Dallas Division

1100 Commerce Street

Rocm #1452

Dallas, Texas 75242

RE: United States Vs. Roger Harry Olson II
3:15-CR-00029-N

Dear Clerk Of Court,

Enclosed please find my "Motion For Reduction in Sentence and Appointment Of
Counsel" for filing with the Court. Also, erclosed is an extra front page for you to
stamp ard return for my files; self addressed stamped envelope erclosed for your

convenience.

Sincerely,

Lye Ahlen 2

Roger Harry Olson II #49151-177
Appearing Pro Se

PagelD 979

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ioger Olson II
49151-177 2 :
~ederal Correctional institute ? == Sse
>. Box 9000

Safford AZ BSS4B

Jnited States

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Page 2

51-177
Clerk Of The District Court
U.S. District Court

Northem District of Texas
1700 Commerce St, Rm 1452
Dallas, TX75242

United States

